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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

GEICO GENERAL INSURANCE                )                 8:16CV58
COMPANY,                               )
                                       )
                  Plaintiff,           )
                                       )
      v.                               )                JUDGMENT
                                       )
DEPARTMENT OF THE NAVY                 )
MEDICAL CARE RECOVERY                  )
UNIT, et al.,                          )
                                       )
                  Defendants.          )
                                       )

      Pursuant to the court’s Memorandum and Order entered this date,

      FINAL JUDGMENT IS ENTERED providing that:

     1.     Plaintiff, GEICO General Insurance Company, and its insured, Cecil
Shaw, and his estate, are discharged from any further liability to Defendants.

    2.     The cross-claim filed by the Centers for Medicare & Medicade Services
(CMS) against LifeTeam Air Evac EMS, Inc., is dismissed without prejudice.

       3.    On CMS’s cross-claims against Defendants Malcolm Shaw, Donna Kay
Rainbolt, Ray Curtis Shaw, Phillip Shaw, Madonna Rehabilitation Hospital, Hastings
Anesthesiology Associates, P.C., Hastings Fire and Rescue, Bryan Medical Center
West, and Mary Lanning Healthcare, the court declares that CMS’s claim to the
interpleaded funds is superior to any claims that have or might be made by said
Defendants.
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       4.      CMS and the Department of the Navy Medical Care Recovery Unit
(Navy) are entitled to receive the interpleaded funds of $100,000.00 plus accrued
interest, if any, and the registry of the court shall distribute the funds as follows:

             a)    $93,000.00 plus 93 percent of any accrued interest to CMS; and

             b)    $7,000.00 plus 7 percent of any accrued interest to the Navy.

      5.     The clerk of the court shall proceed to close this file.

      DATED this 13th day of October, 2016.

                                        BY THE COURT:

                                        s/ Richard G. Kopf
                                        Senior United States District Judge




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